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                                                                      by Clerk
                                                               U.S. Bankruptcy Court
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